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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1974V
                                        (not to be published)


    CHRISTINA LEPRE,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: February 24, 2023


    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs; Hourly
                                                                Rates; Paralegal Tasks
                         Respondent.


James M. Merrigan, Rawson, Merrigan & Litner, LLP, Boston, MA, for Petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for Respondent.

                 DECISION AWARDING ATTORNEY’S FEES AND COSTS 1

        On December 30, 2019, Christina Lepre filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she “suffered a left shoulder impingement and a
mild partial rotator cuff tear with tendinopathy of the supraspinatus, which was ‘caused in
fact’ by her receipt of the” trivalent influenza (“flu”) vaccine on March 5, 2018. Petition at
1, ¶ 1. On March 31, 2022, a decision was issued awarding compensation to Petitioner
based on the Respondent’s proffer. ECF No. 48.

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated December
20, 2022 (ECF No. 54), requesting a total award of $21,855.99 (representing $21,196.50
in fees and $659.49 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that she incurred no out-of-pocket expenses. ECF No. 54-3.
Respondent reacted to the motion on December 21, 2022, representing that he is
satisfied that the statutory requirements for an award of attorney’s fees and costs are met
in this case, but deferring resolution of the amount to be awarded to my discretion. ECF
No. 44. Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s requests and find a
reduction in the amount of fees to be awarded appropriate, for the reasons listed below.

                                       ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (2011).

       The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.
                                            2
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                                         ATTORNEY FEES

                                           A. Hourly Rates

        Petitioner is requesting the rate of $485 per hour for all time billed between the
years 2018-22 by attorney James Merrigan. ECF No. 54-1 at 2-9. In addition, Petitioner
requests the following rates for the additional attorneys that worked on this matter: C.
Fletcher at the rate of $225 for time billed in 2018; for attorney Nicole Avitable, the rate of
$225 for time billed in 2020; and paralegal rates of $165 for 2019-20 and $185 for 2021-
22. Id. I find reductions of the requested rates appropriate.

                                          i. James Merrigan

       Mr. Merrigan has previously been awarded $390 per hour for 2019; $415 per hour
in 2020; $430 per hour for 2021; and $440 per hour for 2020. See Sexton v. Sec’y of
Health & Hum. Servs., No. 19-1919V, 2022 WL 1863925 (Fed. Cl. Spec. Mstr. Apr. 14,
2022). I find the reasoning behind those rates from Sexton persuasive, and will apply
them here as well. Sexton did not establish an hourly rate for Mr. Merrigan for 2018, but
(extrapolating from the 2019 rate), I find the rate of $375 to be appropriate. Application of
these rates results in a reduction of $2,018.00. 3

                                       ii. Associate Attorneys

       The requested rates for attorneys Mr. Fletcher and Ms. Avitable are reasonable
and consistent with what has previously been awarded, and I find no reason to reduce
these rates and award them herein.

                                             iii. Paralegal

      The requested rates for work performed by paralegals exceeds the Vaccine
Program’s published range for paralegals from 2018-22. 4 I will therefore reduce rates for




3 This amount is calculated as follows: ($485 - $375 = $110 x 1.7 hrs = $187) + ($485 - $390 = $95 x 5 hrs

= $475) + ($485 - $415 = $70 x 4.7 hrs = $329) + ($485 - $430 = $55 x 10hrs = $550) + ($485 - $440 = $45
x 10.6 hrs = $477) = $2,018.00.

4These rates are derived from the application of the OSM Attorneys’ Forum Hourly Rate Schedules and
are available on the U.S. Court of Federal Claims website at www.cofc.uscourts.gov/node/2914.

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paralegals to the following: $156 for 2019; $163 for 2020; $172 for 2021; and $177 for
2022. This reduces the fees to be awarded by an additional $83.90. 5

                              B. Paralegal Tasks at Attorney Rates

       Attorneys may be compensated for paralegal-level work, but at a rate that is
comparable to what would be paid for a paralegal. See, e.g. Doe/11 v. Sec’y of Health &
Human Servs., No. XX-XXXV, 2010 WL 529425, at *9-10 (Fed. Cl. Spec. Mstr. Jan. 29,
2010) (citing Missouri v. Jenkins, 491 U.S. 274, 288 (1989)); Mostovoy v. Sec’y of Health
& Human Servs., No. 02-10V, 2016 WL 720969, at *5 (Fed. Cl. Spec. Mstr. Feb. 4, 2016);
Riggins. v. Sec’y of Health & Human Servs., No. 99-382V, 2009 WL 3319818, at *20-21
(Fed. Cl. Spec. Mstr. June 15, 2009); Turpin v. Sec’y of Health & Human Servs., No. 99-
535, 2008 WL 5747914, at *5-7 (Fed. Cl. Spec. Mstr. Dec. 23, 2008).

        Four hours were billed on tasks that are more properly characterized as paralegal
tasks, including requesting medical records, and filing documents. A few non-exhaustive
examples of these entries include:

    •   June 5, 2018 (0.20 hrs) “Sent records request to East Boston NHC for dates of
        service: 3/15/15 – present”;

    •   August 14, 2018 (0.30 hrs) “Sent records and bills request to CDI Dedham and
        Harvard Vanguard – All locations”;

    •   December 30, 2019 (0.50 hrs) “I [James Merrigan] filed the petition”;

    •   September 1, 2022 (0.10 hrs) “I emailed client to f/u re order 9 statement”; and

    •   November 14, 2022 (0.80 hrs) “I ran a locate search for possible new address on
        client. I sent a letter via regular mail to potential new address with order 9 statement
        again.”

ECF No. 54-1 at 3,4, 5 and 9.



5 This amount consists of: ($165 - $156 = $9 x 4.5 hrs = $40.50) + ($165 - $163 = $2 x 2.3 hrs = $4.60) +
($185 - $172 = $13 x 2.8 hrs = $36.40) + ($185 - $177 = $8 x 0.30 hrs = $2.40) = $83.90.


                                                   4
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        I shall reduce the rates for these tasks to the following: $153 per hour for tasks
billed in 2018; $156 per hour for tasks billed in 2019; $163 per hour for tasks billed in
2020; $172 for 2021; and $177 for 2022. These rates are comparable to what a paralegal
would receive. This reduces the awardable attorney fees by $504.70. 6

                                      ATTORNEY COSTS

        Counsel states in Petitioner’s motion that “The attorneys costs, notwithstanding
those which he is unable to produce, total $659.49.” ECF No. 54 at 1. But no
substantiation was offered for the requested costs (and it does not even appear the figure
in the Motion itself is consistent with total costs listed as incurred). See ECF No. 54-2
(itemization of attorney’s costs). Accordingly, because the requested costs have not been
sufficiently established, I cannot award them.

                                         CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT IN PART Petitioner’s Motion for attorney’s fees and
costs. I award a total of $18,589.90 (representing $18,278.40 in fees and $0.00 in costs)
as a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this Decision. 7

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




6
 This amount consists of: ($440 - $177 = $263 x 1.7 hrs = $447.10) + ($225 - $153 = $72 x 0.80 hrs =
$57.60) = $504.70.
7 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 5
